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                                 UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS



    IN RE BROILER CHICKEN ANTITRUST                            Civil Action No. 1:16-cv-08637
    LITIGATION
                                                               Judge Thomas M. Durkin

                                                               Magistrate Judge Jeffrey T. Gilbert
    THIS DOCUMENT RELATES TO:

    All Direct Action Plaintiffs                               NOTICE OF FILING OF LIST OF
                                                               DIRECT ACTION PLAINTIFFS




To:       Counsel of Record, via the ECF System

          PLEASE TAKE NOTICE that on Friday, September 20, 2019, we are hereby filing the

attached list of Direct Action Plaintiffs that have filed Complaints and were consolidated in In re

Broiler Chicken Antitrust Litigation as of September 20, 2019.1



DATED: September 20, 2019
                                                           /s/ Scott E. Gant

                                                       Scott E. Gant
                                                       BOIES SCHILLER FLEXNER LLP
                                                       1401 New York Avenue, NW
                                                       Washington, DC 20005
                                                       Tel: (202) 237-2727
                                                       Fax: (202) 237-6131
                                                       Email: sgant@bsfllp.com

                                                       Liaison Counsel for Direct Action Plaintiffs

1
  Commonwealth of Puerto Rico v. Koch Foods Inc. et al., Case No. 19-cv-01605 (D.P.R.), listed with a dagger (“†”)
in the attached list, has been consolidated with the master action, but Puerto Rico, having filed a complaint on behalf
of itself and as parens patriae on behalf of Puerto Rico residents, is not part of the group of Direct Action Plaintiffs.
